  Case 15-41449       Doc 63   Filed 08/28/20 Entered 08/31/20 11:20:54               Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )                BK No.:     15-41449
ROUDELL KIRKWOOD                              )
                                              )                Chapter: 13
                                              )
                                                               Honorable A. Benjamin Goldgar
                                              )
                                              )                Lake County
               Debtor(s)                      )

 ORDER GRANTING IN PART AND DENYING IN PART DEBTOR'S MOTION TO STRIKE
  EVIDENTIARY HEARING, SET BRIEFING SCHEDULE, and SET STATUS HEARING

        THIS MATTER coming to be heard on the debtor's motion to strike evidentiary hearing, set
briefing schedule, and set status hearing, the parties being in agreement, and the court being duly
advised in the premises, IT IS HEREBY ORDERED:

   1. The debtor's motion is construed as a motion to vacate the pretrial order setting this matter for an
evidentiary hearing on September 11, 2020, and is GRANTED in part. The pretrial order is vacated.
The debtor's motion to determine final cure amount will be decided based on the parties' joint
stipulation of facts.

  2. The parties must file the joint stipulation as a separate item on the docket.

  3. Briefing on the motion will proceed as follows. Response of State Bank of the Lakes is due on or
before September 14, 2020. The debtor's reply is due on or before September 28, 2020.

 4. To the extent the current motion asks for a status hearing, the motion is DENIED. Ruling on the
motion to determine final cure amount is set for December 11, 2020, at 10:00 a.m.

                                                           Enter:


                                                                    Honorable A. Benjamin Goldgar
Dated: August 28, 2020                                              United States Bankruptcy Judge

 Prepared by:
